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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


    P.K.,

                            Plaintiff,                             Civil Action No. 22-1983

                            v.                                     Chief Judge Beryl A. Howell

    UNITED STATES CUSTOMS AND
    BORDER PROTECTION, et al.,

                            Defendants.

                                   MEMORANDUM AND ORDER

            Plaintiff, a non-U.S. citizen and “aspiring graduate student in mental health

counseling,” Compl. ¶ 1, ECF No. 1, has moved to proceed under pseudonym in the instant

suit “challenging the unlawful revocation of his student visa” by an employee of U.S.

Customs and Border Protection (“CBP”), Pl.’s Mot. to Proceed Under Pseudonyms and File

Under Seal (“Pl.’s Mot.”) at 1, ECF No. 2. Plaintiff seeks to shield his identity, and “to seal

portions of any papers that provide identifying details,” id. at 2, out of “a fear of religious

persecution” and “physical harm” if he is returned to his home country, id. at 1. For the

reasons set forth below, plaintiff’s motion is granted, subject to any further consideration by

the United States District Judge to whom this case is randomly assigned. 1

I.          BACKGROUND

            After completing his undergraduate studies in 2020, plaintiff, a non-U.S. citizen,

“decided to pursue the next chapter of his studies—obtaining a Master’s Degree—in the



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        The instant motion has been directly referred to the undersigned Chief Judge for resolution. See D.D.C.
LCvR 40.7(f) (providing that the Chief Judge shall “hear and determine . . . in any case not already assigned:
motion to seal the complaint and motion to file a pseudonymous complaint”).


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United States,” and obtained an F-1 visa to allow him to pursue his studies in Florida. Compl.

¶¶ 1. 16. Upon his arrival to the United States in June 2021, however, plaintiff’s “valid,

unexpired F-1 student visa” was revoked by an “unappointed employee” of CBP, “without

any valid basis or legal authority.” Id. ¶ 2. Plaintiff is now “in further proceedings before an

immigration judge related to his claim for asylum, but the visa revocation is not reviewable in

those proceedings,” and therefore plaintiff remains “unable to attend his graduate studies

because of the unlawful visa revocation.” Id. ¶ 6. Plaintiff challenges this “exercis[e] [of]

unreviewable discretion” by the line employee, id. ¶ 2, as a violation of the Appointments

Clause of the U.S. Constitution, id. ¶ 3, and unlawful “[b]ecause P.K. ha[s] a credible fear of

persecution” if returned to his home country, id. ¶ 5. Plaintiff filed the instant suit seeking,

inter alia, a declaratory judgment that the revocation of his visa violated the Appointments

Clause; was “invalid and void ab initio”; and “was arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with the law,” as well as an order that defendants

“take the appropriate corrective action, including but not limited to, reversing the decision to

cancel Plaintiff’s F-1 visa.” Id. at 12. Plaintiff seeks to proceed under pseudonym, and “to

seal portions of any papers that provide identifying details,” out of a fear that “sensitive and

highly personal facts related to his asylum claim,” if publicly disclosed, “would endanger

Plaintiff’s life and safety.” Pl.’s Mot. at 1.

II.     LEGAL STANDARD

        Generally, a complaint must state the names of the parties and address of the plaintiff.

FED. R. CIV. P. 10(a) (“The title of the complaint must name all the parties.”); FED. R. CIV. P.

11(a) (requiring “[e]very pleading, written motion, and other paper,” including submissions

by an unrepresented party, to “be signed” with “the signer’s address, e-mail address, and




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telephone number”); LCVR 5.1(c)(1) (“The first filing by or on behalf of a party shall have in

the caption the name and full residence address of the party,” and “[f]ailure to provide the

address information within 30 days of filing may result in the dismissal of the case against the

defendant.”). The Federal and Local Rules thus promote a “presumption in favor of

disclosure [of litigants’ identities], which stems from the ‘general public interest in the

openness of governmental processes,’ and, more specifically, from the tradition of open

judicial proceedings.” In re Sealed Case, 931 F.3d 92, 96 (D.C. Cir. 2019) (internal citations

omitted) (quoting Wash. Legal Found. v. U.S. Sentencing Comm’n, 89 F.3d 897, 899 (D.C.

Cir. 1996)). That “presumption of openness in judicial proceedings is a bedrock principle of

our judicial system.” In re Sealed Case, 971 F.3d 324, 325 (D.C. Cir. 2020) (citing

Courthouse News Serv. v. Planet, 947 F.3d 581, 589 (9th Cir. 2020)). Accordingly, courts

“generally require parties to a lawsuit to openly identify themselves to protect the public’s

legitimate interest in knowing all of the facts involved, including the identities of the parties.”

Id. at 326 (internal quotation marks and alterations omitted) (quoting United States v.

Microsoft Corp., 56 F.3d 1448, 1463 (D.C. Cir. 1995) (per curiam)).

       Despite the presumption in favor of disclosure, the Federal Rules of Civil Procedure

provide a narrow set of circumstances in which a party or nonparty’s name or other personal

information may be redacted to protect privacy by limiting public access. See, e.g., FED. R.

CIV. P. 5.2 (a) (requiring, “[u]nless the court orders otherwise,” use of only initials for minors,

and only partial birthdates and social-security, taxpayer-identification, and financial account

numbers); FED. R. CIV. P. 5.2(e)(1) (authorizing court order, for good cause, to “require

redaction of additional information”).




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        Courts also, in special circumstances, may permit a party to proceed anonymously. A

party seeking to do so, however, “bears the weighty burden of both demonstrating a concrete

need for such secrecy, and identifying the consequences that would likely befall it if forced to

proceed in its own name.” In re Sealed Case, 971 F.3d at 326. Once that showing has been

made, “the court must then ‘balance the litigant’s legitimate interest in anonymity against

countervailing interests in full disclosure.’” Id. (quoting In re Sealed Case, 931 F.3d at 96).

When weighing those concerns, five factors, initially drawn from James v. Jacobson, 6 F.3d

233, 238 (4th Cir. 1993), serve as “guideposts from which a court ought to begin its analysis.”

In re Sealed Case, 931 F.3d at 97. These five factors are:

        (1) whether the justification asserted by the requesting party is merely to avoid the
        annoyance and criticism that may attend any litigation or is to preserve privacy in
        a matter of [a] sensitive and highly personal nature; (2) whether identification poses
        a risk of retaliatory physical or mental harm to the requesting party or[,] even more
        critically, to innocent non-parties; (3) the ages of the persons whose privacy
        interests are sought to be protected; (4) whether the action is against a governmental
        or private party; and relatedly, (5) the risk of unfairness to the opposing party from
        allowing an action against it to proceed anonymously.

Id. (citing James, 6 F.3d at 238).

        At the same time, a court must not simply “engage in a wooden exercise of ticking the

five boxes.” Id. Rather, the “balancing test is necessarily flexible and fact driven” and the

five factors are “non-exhaustive.” In re Sealed Case, 971 F.3d at 326. In exercising discretion

“to grant the ‘rare dispensation’ of anonymity . . . the court has ‘a judicial duty to inquire into the

circumstances of particular cases to determine whether the dispensation is warranted’. . .

tak[ing] into account the risk of unfairness to the opposing party, as well as the customary and

constitutionally-embedded presumption of openness in judicial proceedings.” Microsoft

Corp., 56 F.3d at 1464 (quoting James, 6 F.3d at 238 (other internal citations and quotation

marks omitted)).



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         In addressing motions to file under seal records filed in a case, “[t]he starting point . . .

is a strong presumption in favor of public access to judicial proceedings.” Hardaway v. D.C.

Hous. Auth., 843 F.3d 973, 980 (D.C. Cir. 2016) (quoting EEOC v. Nat’l Children’s Ctr., Inc.,

98 F.3d 1406, 1409 (D.C. Cir. 1996)). Courts consider six factors, originally identified in

United States v. Hubbard, 650 F.2d 293 (D.C. Cir. 1980), in determining whether the strong
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presumption in favor of public access is overcome to remove the filing from public access.

When, however, a plaintiff initiating a lawsuit moves to file a case under seal simultaneously

with the filing of the complaint, the motion is more akin to a request to proceed under a

pseudonym, triggering the James test. In both contexts, plaintiffs are seeking to conceal their

identities from the public and thus the same interests are at stake.

III.     DISCUSSION

         At this early stage of the litigation, this Court is persuaded that plaintiff has met his

burden of showing that his privacy and security interests outweigh the public’s presumptive

and substantial interest in knowing the details of judicial litigation. The public’s interest in

the litigant’s identity is de minimis compared to the significant privacy interests of the

plaintiff, who reasonably fears that proceeding under his real name would “endanger [his] life

and safety” if he were ultimately returned to his country of origin. Pl.’s Mot. at 1–2.

         First, as the description of plaintiff’s claims makes clear, plaintiff does not seek to

proceed under pseudonym “merely to avoid . . . annoyance and criticism,” but to “preserve



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          Those factors are:
          (1) the need for public access to the documents at issue; (2) the extent of previous public access to the
          documents; (3) the fact that someone has objected to disclosure, and the identity of that person; (4) the
          strength of any property and privacy interests asserted; (5) the possibility of prejudice to those opposing
          disclosure; and (6) the purposes for which the documents were introduced during the judicial
          proceedings.
Metlife, Inc. v. Fin. Stability Oversight Council, 865 F.3d 661, 665 (D.C. Cir. 2017) (quoting Nat’l Children’s
Ctr., 98 F.3d at 1409 (citing Hubbard, 650 F.2d at 317–22)).


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privacy” and security in a matter that is “sensitive” and potentially dangerous. In re Sealed

Case, 931 F.3d at 97. Plaintiff explains that if he is returned to his home country, “[t]he

disclosure of Plaintiff’s name through public court filings,” and the revelation of any of the

specifics of his persecution claim, “would put Plaintiff in danger of serious personal harm or

death.” Pl.’s Mot. at 6. Plaintiff thus demonstrates a reasonable fear of serious danger rising

beyond mere “annoyance and criticism,” In re Sealed Case, 931 F.3d at 97, if his involvement

in the instant suit were to become public knowledge. The first James factor thus weighs

strongly in favor of permitting him to proceed under pseudonym.

        Second, and relatedly, plaintiff has sufficiently alleged that disclosure of his identity

“poses a risk of retaliatory physical or mental harm to the requesting party.” In re Sealed

Case, 931 F.3d at 97 (quoting James, 6 F.3d at 238). Plaintiff references two previous

instances where he “was subjected to verbal threats and physical violence” in his home

country due to his religious affiliation, explaining that if he is returned there, he “will be

subject to an increased risk of violence.” Pl.’s Mot. at 3–4. This concern plainly represents a

serious “risk of retaliatory physical . . . harm,” In re Sealed Case, 931 F.3d at 97, such that the

second factor also weighs strongly in favor of granting plaintiff’s motion.

        The third and fourth James factors weigh slightly against granting plaintiff’s motion.

Plaintiff does not allege that the interests of any minors are at risk, see In re Sealed Case, 931

F.3d at 97, and “there is a heightened public interest when an individual or entity files a suit

against the government,” In re Sealed Case, 971 F.3d at 329; see also id. (describing the

public interest as “particularly great” where regulated entity sued government agency

regarding “special exemptions” from statutory obligations). However, as plaintiff rightly

notes, his identity is “incidental to the adjudication of his claims,” given that his suit is




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“challenging the constitutional and statutory validity of a governmental policy.” Pl.’s Mot. at

7 (internal alterations omitted).

       Finally, defendants would suffer no “risk of unfairness” if plaintiff’s motion were

granted. See In re Sealed Case, 931 F.3d at 97 (quoting James, 6 F.3d at 238). Allowing

plaintiff to proceed under pseudonym will have no impact on any private rights, as defendants

are all government officers sued in their official capacity. See Compl. at 1. Plaintiff has

provided his necessary identifying information to the Court and defendants under seal, and

therefore allowing plaintiff to proceed anonymously will not compromise defendants’ ability

to defend this action.

       In sum, weighed against the minimal apparent interest in disclosure, plaintiff’s

significant and “legitimate interest in anonymity” at this early stage in the litigation is more

than sufficient to overcome “countervailing interests in full disclosure.” In re Sealed Case,

931 F.3d at 97; see also Horowitz v. Peace Corps, 428 F.3d 271, 278 (D.C. Cir. 2005) (“If

there is no public interest in the disclosure of certain information, ‘something, even a modest

privacy interest, outweighs nothing every time.’” (quoting Nat’l Ass’n of Retired Fed. Emps.

v. Horner, 879 F.2d 873, 879 (D.C. Cir. 1989))).

       For the same reasons discussed above, plaintiff’s request to file a redacted version of

the Complaint on the public docket, removing specific “identifying details,” and an

unredacted version of the Complaint and supporting exhibits under seal, see Pl.’s Mot., Ex. 1,

Unredacted Compl., ECF No. 2-1, is also granted.

IV.    CONCLUSION AND ORDER

       For the foregoing reasons, it is hereby




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          ORDERED that plaintiff’s Motion to Proceed Under Pseudonyms and File Under

Seal, ECF No. 2, is GRANTED, subject to any further consideration by the United States

District Judge to whom this case is randomly assigned; it is further

          ORDERED that plaintiff may proceed with the case using the pseudonym “P.K.”; it is

further

          ORDERED that defendants are prohibited from publicly disclosing plaintiff’s identity

or any personal identifying information that could lead to the identification of plaintiff by

nonparties, except for the purposes of investigating the allegations contained in the Complaint

and for preparing an answer or other dispositive motion in response; it is further

          ORDERED that plaintiff’s Motion to Proceed Under Pseudonyms and File Under

Seal, ECF No. 2, and accompanying exhibits, shall remain under seal; it is further

          ORDERED that plaintiff must file, by July 26, 2022, the Motion to Proceed Under

Pseudonyms and File Under Seal on the public docket with sensitive information redacted;

and it is further

          ORDERED that the Clerk of the Court shall randomly assign this matter to a United

States District Court Judge for further proceedings.

          SO ORDERED.

          Date: July 12, 2022
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                                                       BERYL A. HOWELL
                                                       Chief Judge




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